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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

    CRAIG FRANCIS SZEMPLE,                           Civil Action No. 19-13414 (JMV/JBC)

                 Plaintiff,

          v.                                                         ORDER

    CORRECTIONAL MEDICAL SERVICE, et
    al.,

                 Defendants.


         On or about May 24, 2019, pro se Plaintiff Craig Francis Szemple, an inmate incarcerated

at Northern State Prison (“NSP”) 1 in Newark, New Jersey, initiated this action via the filing of a

complaint in which he asserts numerous claims related to the conditions of his confinement. (See

DE 1.) Szemple also concurrently filed a motion for appointment of pro bono counsel (at DE 2)

and applied to proceed in this case without prepayment of fees or security pursuant to 28 U.S.C. §

1915 (“in forma pauperis” or simply, “IFP”). (DE 1-2.)

         On June 10, 2019, the Court denied Szemple’s IFP application pursuant to the “three

strikes” rule, see 28 U.S.C. § 1915(g), and administratively terminated this action. (DE 3.) On

July 11, 2019, Szemple paid the $400.00 fee required to file his complaint. This matter has

therefore now been reopened.

         Szemple’s complaint nonetheless remains subject to sua sponte screening by the Court.

See 42 U.S.C. § 1997e(c)(1) (“The court shall on its own motion or on the motion of a party dismiss




1
  Szemple’s pleading is inconsistent on this point. While the heading to his complaint identifies
his address of record as NSP (see DE 1 at 1), the substance of Szemple’s pleading expressly alleges
that he is instead confined at East Jersey State Prison, in Rahway, New Jersey. (Id. at 2.) That
said, New Jersey Department of Corrections’ publicly available “offender search” records indicate
that Szemple is presently confined at NSP.
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any action brought with respect to prison conditions under [42 U.S.C. § 1983], or any other Federal

law, by a prisoner confined in any jail, prison, or other correctional facility if the court is satisfied

that the action is frivolous, malicious, fails to state a claim upon which relief can be granted, or

seeks monetary relief from a defendant who is immune from such relief.”). Szemple’s complaint

will be screened in due course. The Clerk shall not issue summons to Szemple until that screening

is complete.

         In addition, Szemple’s motion for appointment of pro bono counsel is denied at this time.

Generally, civil litigants have no constitutional or statutory right to counsel. See United States v.

Zoebisch, 586 F. App’x 852, 856 (3d Cir. 2014). District courts nonetheless have broad discretion

to request the appointment of attorneys to represent indigent civil litigants in appropriate

circumstances. See 28 U.S.C. § 1915(e)(1) (“The court may request an attorney to any person

unable to afford counsel”); Tabron v. Grace, 6 F.3d 147, 153 (3d Cir. 1993) (identifying factors to

be considered in determining whether to “appoint [pro bono] counsel to represent an indigent

litigant in a civil case”) (emphasis added); accord Parham v. Johnson, 126 F.3d 454, 457 (3d Cir.

1997) (“the Tabron court delineated various factors to aid district courts in determining when it is

proper to appoint counsel for an indigent litigant in a civil case.”) (emphasis added).

         Here, Szemple has not sufficiently established his indigency. Indeed, just over a month

after the Court denied his IFP application, Szemple paid the $400.00 filing fee, in its entirety.

Szemple may, nonetheless renew his pro bono application if the Court, after screening his

complaint, determines that any of Szemple’s claims have “some merit in fact and law.” 2 Tabron,

6 F.3d at 15.



2
   The Court emphasizes that Szemple will still be required to, at that time, sufficiently establish
his indigency. In so doing, the Court expects that he will provide a then-current prison account
statement as well as a full and complete listing of all other assets.


                                                   2
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       For these reasons, and good cause otherwise appearing,

       IT IS on this 12th day of July, 2019,

       ORDERED that SUMMONS SHALL NOT ISSUE in this matter until the Court

completes its requisite screening of Szemple’s complaint; and it is further

       ORDERED that Szemple’s motion for the appointment of pro bono counsel (at DE 2) is

DENIED; and it is further

       ORDERED that the Clerk of the Court shall send a copy of this Order to Szemple by

regular U.S. mail.

                                                     s/ John Michael Vazquez
                                                     JOHN MICHAEL VAZQUEZ
                                                     United States District Judge




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